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9
                                  UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
                                        SAN JOSE DIVISION
11
      FEDERAL TRADE COMMISSION,                          Case No. 5:22-cv-04325-EJD
12

13           Plaintiff,                                  JOINT REQUEST TO CONDUCT
      v.                                                 NOVEMBER 9, 2022 HEARING BY VIDEO
14                                                       CONFERENCE OR TELEPHONE AND
      META PLATFORMS, INC., et al.,                      [PROPOSED] ORDER
15
             Defendants.
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     JOINT REQUEST AND [PROPOSED] ORDER                                      CASE NO. 5:22-CV-04325-EJD
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1           Pursuant to Paragraphs 1 and 12 of this Court’s Standing Order, Plaintiff Federal Trade

2    Commission (“FTC”), and Defendants Meta Platforms, Inc. and Within Unlimited, Inc. respectfully

3    submit this Joint Request that the discovery hearing currently scheduled for November 9, 2022, at

4    1:30p.m., be conducted remotely via video conference or telephone.

5           The parties submit this joint request because counsel who will appear on behalf of each party at

6    the hearing are located on the East Coast. Additionally, the hearing, if ultimately needed, is currently

7    only on the FTC’s Motion [Dkt. 123]. In light of the Court’s Order [Dkt. 173], Defendants informed

8    Plaintiff that they are withdrawing their Motions [Dkts. 125, 144]. The parties are meeting and
9    conferring based on the Court’s guidance to try to further narrow and, if possible, resolve the FTC’s
10   Motion and will provide a further update on November 7 as required by the Court.
11
     Dated: November 4, 2022                             Respectfully Submitted,
12
                                                         /s/ Adam Pergament
13                                                       Abby L. Dennis
14                                                       Peggy Bayer Femenella
                                                         Joshua Goodman
15                                                       Jeanine Balbach
                                                         Michael Barnett
16                                                       E. Eric Elmore
                                                         Justin Epner
17
                                                         Sean D. Hughto
18                                                       Frances Anne Johnson
                                                         Andrew Lowdon
19                                                       Lincoln Mayer
                                                         Erika Meyers
20                                                       Adam Pergament
                                                         Kristian Rogers
21
                                                         Anthony R. Saunders
22                                                       Timothy Singer
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     JOINT REQUEST AND [PROPOSED] ORDER                                       CASE NO. 5:22-CV-04325-EJD
         Case 5:22-cv-04325-EJD Document 182 Filed 11/04/22 Page 3 of 6




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     JOINT REQUEST AND [PROPOSED] ORDER     2                     CASE NO. 5:22-CV-04325-EJD
         Case 5:22-cv-04325-EJD Document 182 Filed 11/04/22 Page 4 of 6




1
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     JOINT REQUEST AND [PROPOSED] ORDER     3                       CASE NO. 5:22-CV-04325-EJD
         Case 5:22-cv-04325-EJD Document 182 Filed 11/04/22 Page 5 of 6




1                                        [PROPOSED] ORDER

2          Having considered the parties’ Joint Request to Conduct the November 9, 2022 Hearing by

3    Video Conference or Telephone, IT IS HEREBY ORDERED that the Joint Request is GRANTED.

4

5                      4 2022
      Dated: November __,                  _________________________________________________
                                                    Honorable Susan van Keulen
6                                                   United States Magistrate Judge

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     JOINT REQUEST AND [PROPOSED] ORDER             4                     CASE NO. 5:22-CV-04325-EJD
          Case 5:22-cv-04325-EJD Document 182 Filed 11/04/22 Page 6 of 6




1                       ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1

2           I, Adam Pergament, am the ECF User whose ID and password are being used to file the

3    foregoing. In compliance with Civil Local Rules 5-1(h)(3), I attest that Eric S. Hochstadt concurred in

4    this filing, and I shall maintain records to support this concurrence for subsequent production for the

5    Court if so ordered or for inspection upon request by a party.

6

7    Dated: November 4, 2022                                      /s/ Adam Pergament
                                                                  Adam Pergament
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     JOINT REQUEST AND [PROPOSED] ORDER                  5                      CASE NO. 5:22-CV-04325-EJD
